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                               Exhibit 46



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                      Page 1
                        UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MASSACHUSETTS

       - - - - - - - - - - - - - - -

       IN RE:      PHARMACEUTICAL           )   MDL NO. 1456

       INDUSTRY AVERAGE WHOLESALE           )   CIVIL ACTION

       PRICE LITIGATION                     )   01-CV-12257-PBS

       THIS DOCUMENT RELATES TO             )

       U.S. ex rel. Ven-a-Care of           )   Judge Patti B. Saris

       the Florida Keys, Inc.               )

              v.                            )   Chief Magistrate

       Abbott Laboratories, Inc.,           )   Judge Marianne B.

       No. 06-CV-11337-PBS                  )   Bowler

       - - - - - - - - - - - - - - -



                Videotaped 30(b)(6) deposition of

       THE STATE OF MARYLAND DEPARTMENT OF HEALTH AND

                MENTAL HYGIENE BY JOSEPH L. FINE



                                       Baltimore, Maryland

                                       Tuesday, December 9, 2008

                                       9:00 a.m.




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   2

   3                  Videotaped deposition of THE STATE OF MARYLAND
   4      DEPARTMENT OF HEALTH AND MENTAL HYGIENE BY JOSEPH L.
   5      FINE, held at the law offices of Centers for Medicare
   6      & Medicaid Services, 7500 Security Boulevard, Room
   7      C-111, Baltimore, Maryland, the proceedings being
   8      recorded stenographically by Jonathan Wonnell, a
   9      Registered Professional Court Reporter and Notary
 10       Public of the State of Maryland, and transcribed
 11       under his direction.
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   1      complaints over both the validity of the IG estimates
   2      (the report exaggerated somewhat the discrepancies in
   3      prices) and its failure to recognize that many states
   4      have deliberately held down dispensing fees as a quid
   5      pro quo for known 'fat' in published wholesale
   6      prices."           Do you see that?
   7                A.         Yes.
   8                Q.         Do you recall, Mr. Fine, criticisms of the
   9      OIG's work for failure to recognize that states had
 10       deliberately held down dispensing fees as a quid pro
 11       quo for known fat of published wholesale prices?
 12                            MR. DAVIS:            Objection, form.
 13                            MS. YAVELBERG:            Objection, form.
 14                 A.         What I do know is that the State of
 15       Maryland separated the cost of a drug and the
 16       dispensing fee and did not consider dispensing fees
 17       and the differential in purchasing cost from the
 18       wholesale price in setting their upper limits for
 19       payment.
 20                 Q.         Is it your testimony, Mr. Fine, on behalf
 21       of the department that Maryland has never considered a
 22       potential inadequacy of dispensing fees in what it has


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                                                                                   Page 105
   1      paid for ingredient cost?                       Would that be your
   2      testimony?
   3                           MS. YAVELBERG:             Objection, form.
   4                A.         Maryland looks at the dispensing fee in one
   5      entity separate from that of the ingredient cost.                                 It
   6      has always been understood that the listed price or
   7      the wholesale price of the wholesaler is not what the
   8      pharmacist pays for it.                        And we also knew from the
   9      survey that was done by Myers & Stauffer that the
 10       dispensing fee -- the cost of filling a prescription
 11       was in Maryland's case lower than what was portrayed
 12       in the survey.                Okay?        We knew both of these.        But
 13       there wasn't a concerted decision to combine the two
 14       in setting our fees, our reimbursement to pharmacy.
 15                 Q.         So it's your testimony -- let me make sure
 16       I get this right.
 17                 A.         Uh-huh.
 18                 Q.         It's your testimony that the department
 19       doesn't believe that you should consider the
 20       components together to see if the reimbursement is
 21       fair?
 22                            MS. YAVELBERG:             Objection to form.


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                                                                                     Page 106
   1                           MR. DAVIS:                Objection.
   2                A.         I didn't say that.                I said we looked at it
   3      separately.              Okay?        When we reviewed the Myers &
   4      Stauffer survey we knew that we were underpaying.
   5      Okay?         When we looked at the acquisition cost of
   6      products we knew that we were not at the actual
   7      acquisition cost or estimated acquisition cost where
   8      there was a differential in what the pharmacist paid
   9      for it to what we allowed.                          We understood this.
 10                            But we didn't set up a policy, well,
 11       because we're higher here and lower here it's okay.
 12       We looked at each one individually.                          And that's the
 13       best way I can answer that to you.                          It wasn't our
 14       policy to combine them both and say we're okay.
 15                 Q.         Did you talk with your attorneys about
 16       this?
 17                 A.         I have not talked to the attorneys --
 18                 Q.         About this issue?
 19                 A.         Have I talked to the attorneys about this
 20       issue?
 21                            MS. YAVELBERG:                We're not going to allow
 22       the witness to testify about what he talked to the


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                                                                                   Page 229
   1        drug, most drugs are bought at some sort of discount
   2        which is lower than WAC."                     Do you see that?
   3                 A.         This is an incorrect statement.               I see it.
   4        But it's an incorrect statement.
   5                 Q.         This is an incorrect statement?
   6                 A.         Mm-hmm.
   7                 Q.         How so?
   8                 A.         Wholesale acquisition cost is what the
   9        wholesaler lists the price for for their cost.
 10         Pharmacy purchases using that as a baseline and the
 11         wholesaler gives them, 1, 2, 3, 4 percentage points,
 12         sometimes 5 or 6 percentage points above that as the
 13         charged amount as to what pharmacy pays for it.                             So
 14         it's not below wholesale acquisition cost.                        It
 15         actually should be it's a WAC plus.                     That's how we
 16         arrive at a WAC plus 10.
 17                             Some small pharmacies can get their drug
 18         based on the wholesale cost -- don't get the same
 19         discount as others.                    So a very high volume purchasing
 20         pharmacy could get pricing when they buy it at plus
 21         two points above wholesale acquisition cost and the
 22         smaller pharmacies may not get it for 7 or 8 percent


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   1        above wholesale acquisition cost.                    But that's the way
   2        they purchase.
   3                            So we always knew that -- as far as I knew
   4        representing the State of Maryland that wholesale --
   5        average wholesale price was an inconsistent price,
   6        that the wholesale acquisition cost was a more
   7        consistent price and that pharmacy buys cost-plus.
   8        They changed their modality of buying from an AWP
   9        minus discount in the '80s to early '90s to a
 10         cost-plus purchasing.                    So that's why Maryland
 11         addressed that right away.                    And we were one of the few
 12         states that saw that.
 13                  Q.         Didn't Maryland know, Mr. Fine, that WAC
 14         was generally AWP minus 20 percent?                    Didn't Maryland
 15         know that?
 16                             MS. YAVELBERG:           Objection to form.
 17                             MR. DAVIS:           Objection to the form.
 18                  A.         Maryland was uncertain of that as far as --
 19         when you asked me about average wholesale price it was
 20         approximately 20 percent above what the wholesaler
 21         acquisition cost is.                    But we knew that the wholesalers
 22         in Maryland had different list prices.                    And because


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   1        they had different list prices we wanted to go to a
   2        more consistent price.                       And that's wholesale
   3        acquisition cost.
   4                            MR. TORBORG:              Let's mark this as the next
   5        document.
   6                                                      (Exhibit Abbott Maryland 020
   7                                                       was marked for
   8                                                       identification.)
   9                            BY MR. TORBORG:
 10                  Q.         Mr. Fine, what I've marked as Abbott
 11         Maryland 20 is an April 4th 1997 memo from Janet
 12         Freeze --
 13                  A.         Mm-hmm.
 14                  Q.         -- to Lawrence Triplett?
 15                  A.         Yes.
 16                  Q.         Who is Ms. Freeze?
 17                  A.         Ms. Freeze worked in quality assurance.
 18         She did a lot of surveys and read reports and reported
 19         back to the compliance administration on different
 20         subject matters of interest.
 21                  Q.         The last paragraph of that page --
 22                  A.         Yes.


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   1                 Q.         -- it says "An easier but potentially
   2        unpopular approach would be to implement new
   3        regulations to lower the overall medical assistance
   4        reimbursement.               The current WAC plus 10 pricing is
   5        generally equivalent to average wholesale price less
   6        10 percent."             Do you see that?
   7                 A.         Yes.
   8                 Q.         Is that what the department knew in or
   9        around April of 1997?
 10                  A.         The word generally equivalent has -- again,
 11         it's not exactly equivalent.                    And what -- again, as
 12         restating, what we noticed in drug pricing was that
 13         the wholesale acquisition costs amongst wholesalers
 14         were more stable that the different listed prices the
 15         wholesalers charged as their wholesale selling price
 16         or wholesale list price.                     So "generally" is just a
 17         general statement.                  It's not "is."
 18                  Q.         Let's go back to the document marked
 19         previously, the April 20th 1995 memo.
 20                  A.         Mm-hmm.
 21                  Q.         The bullet says "While we are paying WAC
 22         plus 10 percent for the ingredient cost of the drug,


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   1        most drugs are bought at some sort of discount which
   2        is lower than WAC."                   Do you see that?
   3                 A.         Right.        And that's an incorrect statement.
   4                 Q.         Says who?
   5                 A.         Says me.
   6                 Q.         Okay.       So you sitting here some 13 years
   7        later are saying that what Ms. Burkholder said in
   8        April 1995 was not what Maryland thought at the time?
   9                            MR. DAVIS:           Objection to the form.
 10                  Q.         Is that your testimony?
 11                  A.         It's what this person who works for the
 12         State of Maryland or these two people were saying at
 13         the time.           Wholesale acquisition cost was the baseline
 14         price or what the wholesaler's costs are for the
 15         product.          It's not the AWP.            So the WAC plus 10 for
 16         the ingredient cost of the drug, most drugs are bought
 17         at some sort of discount which is lower than WAC.
 18         It's not so.             It's the other way.         Most drugs are
 19         bought with a plus off of WAC.                    That is the way drugs
 20         are purchased.
 21                  Q.         So it's your testimony, Mr. Fine, on behalf
 22         of the department for the period 1989 through, say,


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   1        2004 that DHMH believed that pharmacies did not
   2        purchase drugs from a discount of WAC as published in
   3        the compendia?               Is that your testimony?
   4                            MS. YAVELBERG:           Objection, form.
   5                 A.         It's my testimony with the experience of
   6        drug pricing that pharmacy did not buy drugs that way
   7        and still today does not.
   8                 Q.         So you're saying that the department was
   9        not aware that pharmacists were purchasing drugs at
 10         discounts below the WAC published in the compendia?
 11         That's your testimony?
 12                             MR. DAVIS:           Objection.
 13                             MS. YAVELBERG:           Objection, form.
 14                  A.         I'm not clear as to what you're saying.
 15         What we have here is an internal memo that I was not
 16         part of.          I did not write this memo.            I'm looking at
 17         this memo 13 years later and from my experience I'm
 18         looking at one point, a statement that appears
 19         incorrect.
 20                  Q.         Are you saying that Maryland believed from
 21         1989 through 2004 that pharmacists were not purchasing
 22         drugs from discounts from WAC as published in the


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                                                                                    Page 235
   1        compendia?
   2                            MS. YAVELBERG:               Objection, form.
   3                            MR. DAVIS:               Objection, asked and answered.
   4                            MR. TORBORG:               He didn't answer it last
   5        time.
   6                            MR. DAVIS:               I think he did.
   7                            MR. TORBORG:               It's a yes or no answer.
   8                            MS. YAVELBERG:               Objection to form.
   9                 A.         Could you restate the question again?                        I
 10         just want to make sure I understand what you're
 11         saying.
 12                             MR. TORBORG:               Would you read it for me?
 13                             (Whereupon, the requested portion was read
 14         by the reporter.)
 15                             MS. YAVELBERG:               Objection, form.
 16                  A.         I can say representing the State of
 17         Maryland that discounts off of WAC did not occur.                                  It
 18         was a discount above WAC that was paid to pharmacy.
 19                             BY MR. TORBORG:
 20                  Q.         Are we talking about brand name drugs or
 21         generic drugs?
 22                  A.         I'm talking any purchase of drug from a


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   1        and the integrity of the program?
   2                            MR. TORBORG:             Object to form.
   3                 A.         I'm not following you on your question.
   4                 Q.         Do you expect participants in the program
   5        to be honest?
   6                 A.         When you talk about participants you're
   7        talking about providers?
   8                 Q.         Yes.
   9                 A.         The expectation is that they are honest in
 10         their billing.
 11                             MS. YAVELBERG:             I'm going to mark this next
 12         document as 24.
 13                                                       (Exhibit DOJ 024 was marked
 14                                                       for identification.)
 15                             BY MS. YAVELBERG:
 16                  Q.         And DOJ 24 is a copy of the United States
 17         first amended complaint in In Re: Pharmaceutical
 18         Industry Average Wholesale Price Litigation in the
 19         United States District Court for the District of
 20         Massachusetts.               Mr. Fine, if I could ask you to read
 21         the first paragraph of this complaint on this first
 22         page, just read it out loud.


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                                                                                   Page 301
   1                 A.         "The United States brings this action to
   2        recover losses sustained by the Medicare and Medicaid
   3        programs as a result of the sustained efforts of the
   4        defendants, Dey Incorporated, Dey L.P. Incorporated,
   5        and Dey L.P. (collectively 'Dey') to defraud these
   6        programs.           Over the course of a number of years Dey
   7        has reported inflated drug prices knowing that
   8        Medicare and Medicaid would rely on those prices to
   9        set reimbursement rates for Dey's pharmaceutical
 10         products.
 11                             "Dey's actual sales prices for its
 12         pharmaceutical products were and are far less than the
 13         prices reported by Dey.                      By knowingly reporting
 14         fraudulently inflated prices - sometimes a thousand
 15         percent higher than Dey's actual prices - Dey has
 16         ensured that its retail customers and other providers
 17         who dispense its drugs receive inflated reimbursement
 18         and profits from Medicare and Medicaid.
 19                             "Dey has used the public fisc as a
 20         marketing tool, actively promoting the government-
 21         funded spread between, one, its fraudulently inflated
 22         prices and, two, its actual sales prices as an


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   1        inducement to its customers.                      These efforts have
   2        allowed Dey to increase its profits by boosting sales
   3        for its drugs."
   4                 Q.         Thank you.           Did Maryland know that Dey was
   5        engaging in this conduct?
   6                            MR. TORBORG:             Objection.   Hold on.
   7                            MS. MANGIARDI:             Objection.
   8                            MR. TORBORG:             Hold on.   This is way outside
   9        the scope of my notice and what the foundation can --
 10         there's been no foundation that he's even prepared to
 11         answer this question.
 12                             MS. YAVELBERG:             I think it's within the
 13         scope and I think he is prepared having been with the
 14         State of Maryland for over 20 years to testify about
 15         whether Maryland knew of or approved of this conduct.
 16                             MR. TORBORG:             It's kind of a broad
 17         question.           I mean, you're asking about all of it as
 18         once?
 19                             MS. YAVELBERG:             Sure.
 20                             MR. TORBORG:             All of the various elements
 21         of this?          You're asking about it at once?
 22                             MS. YAVELBERG:             If he can't answer the


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   1        question he'll tell us.
   2                            MR. TORBORG:             I object to this line of
   3        questioning as outside the scope of anything that I
   4        asked about.
   5                            BY MS. YAVELBERG:
   6                 Q.         Mr. Fine, did the State of Maryland approve
   7        of this conduct?
   8                            MR. TORBORG:             Object to form.
   9                            MS. MANGIARDI:             Objection.
 10                             MR. TORBORG:             Alleged conduct.
 11                  A.         First of all, I've just got to qualify
 12         this.        The State of Maryland receives drug information
 13         from the compendia.                   We base our price based on that
 14         information.             Okay?        I have as a representative of the
 15         State of Maryland no knowledge of this activity.
 16                  Q.         And if I represent to you that the United
 17         States has filed a similar complaint against the
 18         Roxane defendants and the Abbott defendants would
 19         Maryland have approved such conduct by those
 20         companies?
 21                             MR. TORBORG:             Same objections.
 22                             MS. MANGIARDI:             Objection.


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   1                 A.         Approval, that would be an outlandish
   2        assertion that the company would do this.                        And it
   3        would really cause issues with the state having
   4        overpaid based on a fictitious price.
   5                 Q.         You can put that aside.               Now I am going to
   6        jump around a little bit because we're running out of
   7        time and you're being very patient.                        In preparation
   8        for your deposition today in addition to meeting with
   9        attorneys your testified that you reviewed some
 10         documents; is that correct?
 11                  A.         Yes, mm-hmm.
 12                  Q.         Did you also talk with current employees of
 13         Maryland Medicaid?
 14                             MR. TORBORG:             Object.    Asked and answered.
 15                             MS. YAVELBERG:             No.    I don't believe so.
 16                             MR. TORBORG:             Yes.    It was asked.     I don't
 17         know if it was answered correctly, but it was asked.
 18                             BY MS. YAVELBERG:
 19                  Q.         Would you like to clarify your answer?
 20                  A.         I spoke somewhat with Frank Tetkowsi in
 21         preparation at the tail end of my -- after our
 22         preparation with us.                    And just to clarify a couple


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   1        today.
   2                 Q.         For those products that were in the IDC
   3        program you didn't use the compendia price to set the
   4        amount, correct?
   5                 A.         We used the wholesalers that the
   6        pharmacists were buying the products from in the State
   7        of Maryland for pricing.
   8                 Q.         You did not use the compendia prices for
   9        those products on the IDC, correct?
 10                  A.         Correct.
 11                  Q.         Okay.       And so when you see a document such
 12         as DOJ 24, which is the United States complaint
 13         against Dey which talked about fraudulently inflated
 14         prices sometimes 1,000 percent higher than Dey's
 15         actual prices, if you had an IDC on those drugs for
 16         those prices --
 17                  A.         We were protected.
 18                  Q.         You were protected?
 19                  A.         Yes.
 20                  Q.         And that was part of your job?
 21                  A.         Absolutely.
 22                  Q.         To make sure that you protected yourself --


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                                                                                   Page 321
   1                            MS. YAVELBERG:            Objection, form.
   2                 Q.         -- correct?
   3                 A.         The reason we set our EAC with the four
   4        different possibilities was to protect the payment --
   5        the State of Maryland's, you know, expenditures to
   6        ensure that to the best of our knowledge we could come
   7        as close as possible.                    But those four different
   8        modalities, the wholesale acquisition cost, et cetera,
   9        we depended on the compendia for that information.
 10                  Q.         But for prices where there's IDC, you
 11         didn't use the compendia?
 12                  A.         No.
 13                  Q.         And you didn't rely upon the compendia?
 14                  A.         No, we did not.
 15                  Q.         You indicated that in the 1980s you were
 16         getting manufacturer catalogs.
 17                  A.         Yes.       Mm-hmm.       '70s and '80s.
 18                  Q.         '70s and '80s.            Tell me what you were
 19         getting.
 20                  A.         I had a whole series of books, Squibb,
 21         Abbott, whoever was selling direct, and we were able
 22         to set our prices based on that for those products


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